Case 4:05-cr-00173-MAC-KPJ            Document 891        Filed 05/15/12       Page 1 of 1 PageID #:
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §   CRIMINAL NO. 4:05CR173.5
                                                    §
 TOMMY DEBELL GRIFFIN                               §


                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the above-referenced criminal action, this court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The court has received the report of the United States Magistrate

 Judge pursuant to its order. Defendant having waived allocution before this court as well as his right

 to object to the report of the Magistrate Judge, the court is of the opinion that the findings and

 conclusions of the Magistrate Judge are correct.

      .   It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

 of the court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons in

 Seagoville, Texas, if appropriate, to be imprisoned for a term of six (6) months with 36 months

 supervised release to follow.

          IT IS SO ORDERED.

          SIGNED this 15th day of May, 2012.




                                                           ____________________________________
                                                           MICHAEL H. SCHNEIDER
                                                           UNITED STATES DISTRICT JUDGE
